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                        UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
SELINA MARIE RAMIREZ, individually and as Independent
Administrator of, and on behalf of, the ESTATE OF GABRIEL
EDUARDO OLIVAS and the heirs-at-law of GABRIEL EDUARDO
OLIVAS, and as parent, guardian, and next friend of and for
female minor S.M.O.; and GABRIEL ANTHONY OLIVAS,
individually,
Plaintiff
                                                                  3:19-cv-01529-L
v.
CITY OF ARLINGTON, TEXAS;                                        Civil Action No.
JEREMIAS GUADARRAMA; and
EBONY N. JEFFERSON
Defendant


                          CERTIFICATE OF INTERESTED PERSONS
                                 (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,

     Plaintiffs




provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

  N/A




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

SELINA MARIE RAMIREZ, individually and as Independent Administrator of, and on behalf of, the
ESTATE OF GABRIEL EDUARDO OLIVAS and the heirs-at-law of GABRIEL EDUARDO OLIVAS, and as
parent, guardian, and next friend of and for female minor S.M.O.; and GABRIEL ANTHONY OLIVAS,
individually; T. Dean Malone, attorney for Plaintiff; City of Arlington, Texas, Defendant; Jeremias
Guadarrama, Defendant; and Ebony N. Jefferson, Defendant.
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                                                              Date:                     06/25/2019
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NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil/Other
Documents/Certificate of Interested Persons
